Case 3:17-cv-00007-GEC-JCH Document 149 Filed 03/05/19 Page 1 of 1 Pageid#: 2830

                                                                                            03/05/2019

                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                CHARLOTTESVILLE DIVISION

 INNOTEC LLC,                                     )
                                                  )
         Plaintiff,                               )
                                                  )
 v.
                                                  )
 VISIONTECH SALES, INC. et al.,                   )
                                                  )
         Defendants.                              )                   CV No. 3:17cv00007
                                                  )
 VISIONTECH SALES, INC.,                          )
                                                  )
         Counterclaim Plaintiff,                  )
                                                  )
 v.                                               )
                                                  )
 INNOTEC LLC, et al.,                             )
                                                  )
         Counterclaim Defendants.

                      AGREED ORDER OF DISMISSAL WITH PREJUDICE

         Plaintifflnnotec, LLC and Defendants Visiontech Sales, Inc., Richard Lloyd Perrault, and

 Visiontech Sales Group Hong Kong Ltd. have notified the Court that they have resolved all claims

  and counterclaims related to this action pursuant to a settlement agreement and have requested that

 the Court dismiss this action with prejudice, with each party to bear its own attorneys' fees, costs

  and expenses.

         Accordingly, it is ORDERED that this action, including claims and counterclaims, be and

 hereby is DISMISSED with prejudice and this matter stricken from the docket.
                      .    ~

         ENTERED this.S        day of       ~~                    2019.



                                               United States District Court Judge
